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 8 Attorneys for Christina W. Lovato, Chapter 7 Trustee
 9                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
10
11
     In re                                               Lead Case No.: BK-19-50102-gs
12                                                       (Chapter 7)
13   DOUBLE JUMP, INC.
                                                         Substantively Consolidated with:
14              Debtor.
                                                          19-50130-gs    DC Solar Solutions, Inc.
15
                                                          19-50131-gs    DC Solar Distribution, Inc.
16    X Affects DC Solar Solutions, Inc.                  19-50135-gs    DC Solar Freedom, Inc.
      X Affects DC Solar Distribution, Inc.
17    X Affects DC Solar Freedom, Inc.                   MOTION FOR ORDER (1) APPROVING
      X Affects Double Jump, Inc.
18                                                       COMPROMISE AND SETTLEMENT
                                                         AGREEMENT WITH TERSUDA, LLC;
19                                                       AND (2) FOR AWARD OF
                                                         CONTINGENCY FEE
20
21                                                       Hearing Date: October 28, 2021
                                                         Hearing Time: 2:00 p.m.
22
23           Christina Lovato, the duly appointed and acting trustee (“Trustee”) for the substantively
24   consolidated chapter 7 estates of DC Solar Solutions, Inc. (“Solutions”), DC Solar Distribution,
25   Inc. (“Distribution”), DC Solar Freedom, Inc. (“Freedom,” and together with Solutions and
26   Distribution, “DC Solar”) and Double Jump, Inc. (“DJ,” and together with DC Solar, the “Estate”)
27   files this motion to approve the compromise and settlement with Tersuda, LLC (“Tersuda” or
28   “Defendant”) pursuant to F.R.B.P. 9014 and 9019 and payment of a contingency fee to special




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 1   litigation counsel (“Motion”). The Motion is supported by the separately filed Declaration of
 2   Christina Lovato and is based upon the following discussion of facts and law.
 3                                       I.      Factual Background
 4            A. Procedural Background
 5                  Prepetition, DC Solar was engaged in a business related to manufacturing,
 6   marketing, selling, and leasing mobile solar generators.
 7                  However, certain of DC Solar’s insiders, including Jeff Carpoff and Paulette
 8   Carpoff (“Carpoffs”), were also perpetrating a Ponzi scheme (“Carpoff Ponzi Scheme”).
 9                  On December 18, 2018, federal law enforcement raided DC Solar’s business
10   locations, effectively closing down DC Solar’s operations.
11                  In late January and early February 2019, the Debtors filed for chapter 11 relief
12   before this Court, commencing these bankruptcy cases (“Bankruptcy Cases”).
13                  On March 22, 2019, this Court converted the Bankruptcy Cases to cases under
14   chapter 7 and appointed the Trustee as chapter 7 trustee of the Debtors’ estates.1 The Estates have
15   been substantively consolidated.2
16            B. Trustee’s Claims
17                  As part of the Carpoff Ponzi Scheme, the Carpoffs caused DC Solar to transfer
18   large sums of money to King Solarman, Inc. (“King Solarman”) to loot DC Solar. At least $41
19   million was looted from the Debtors via transfers to King Solarman. One way this looting occurred
20   was from transfers from DC Solar-to-King Solarman-to-J&C Consulting, Inc. (“J&C”).
21                  J&C was a personal slush fund of Jeff Carpoff. Carpoff had material control over
22   the money transferred from King Solarman to J&C. At least $19 million was transferred from King
23   Solarman to J&C as part of the looting scheme.
24                  On March 9, 2017, J&C transferred $200,000 to the Defendant (“Transfer”).
25                  On March 8, 2021, the Trustee filed her complaint (“Complaint”) commencing
26   Adversary Case No. 21-5044-GS (Bankr. D. Nev.) against the Defendant (“Adversary”).
27
28   1
         ECF Nos. 439 & 440.
     2
         ECF No. 2613.


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 1                  In her Complaint, the Trustee asserted that DC Solar is a creditor of J&C. And
 2   therefore, that the Trustee can avoid and recover the Transfer (made from J&C).
 3                  Prior to commencing the Adversary, the Trustee reviewed and considered
 4   numerous documents. These documents included those relating to (1) the Transfer and the
 5   Defendant; and (2) the Carpoff Ponzi Scheme more generally; and (3) the Carpoffs’ efforts to loot
 6   DC Solar for their own personal benefit.
 7                  After commencing the Adversary, the Trustee communicated with the Defendant
 8   regarding the possibility of a consensual resolution, and the Parties’ differing positions of fact and
 9   law. Additionally, the Defendant provided documents demonstrating that the Defendant provided
10   consideration to J&C or the Carpoffs in amounts exceeding $185,000, thus arguably evidencing
11   value provided to J&C.
12                  Following these settlement negotiations, and subject to this Court’s approval, the
13   Trustee and the Defendant reached an agreement on the terms of a settlement of their claims and
14   have executed a Stipulation of Settlement (“Settlement Agreement”). A copy of the Settlement
15   Agreement is attached to the contemporaneously filed declaration of Christina Lovato. The Trustee
16   believes that the Settlement Agreement is in the best interests of the Debtors’ estates and should
17   be approved.
18                                        II.     Settlement Terms
19                  The key aspects of the Settlement Agreement, as more particularly described
20   therein, are the following:
21                 The Defendant shall pay the Trustee $18,000 (“Settlement Payment”) pursuant to
                    the Settlement Agreement, in installment payments, with the first payment fifteen
22                  days after an Order approving the Settlement Agreement.
23
                   The Defendant waives all claims against the Estates, including under Section
24                  502(h) of the Bankruptcy Code.
25
                   Subject to and except for their obligations in this Settlement Agreement, the Trustee
26                  and the Defendant shall each release and waive all claims against the other.
27
28




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 1                                        III.    Legal Discussion
 2                  Fed. R. Bank. P. 9019(a) provides in relevant part that "[o]n motion ... and after
 3   notice and a hearing, the court may approve a compromise or settlement.”
 4                  In the Ninth Circuit, motions to approve a compromise and settlement agreement
 5   are reviewed under the four criteria set forth in In re A&C Properties, Inc., 784 F. 2d 1377, 1381
 6   (9th Cir. 1986), cert. denied, 479 U.S. 854 (1986). Those criteria are: (1) likelihood of success on
 7   merits of the claims in the underlying litigation; (2) the complexity of the litigation involved, and
 8   the expense, inconvenience and delay necessarily attending it; (3) the difficulties, if any, to be
 9   encountered in the matter of collection; and (4) the paramount interest of the creditors and a proper
10   deference to their reasonable views in the premises.
11                  Compromises are favored under the Bankruptcy Code, and approval of a
12   compromise rests in the sound discretion of the Court.3 The bankruptcy court is afforded wide
13   latitude in approving compromise agreements which it determines to be fair, reasonable, and
14   adequate.4 The court need not conduct an exhaustive investigation into the claim sought to be
15   compromised.5
16                  The Trustee, in her informed business judgment, submits that approval of the
17   Settlement Agreement is in the best interests of the Debtors’ estates.6
18          A. The Settlement Should Be Approved
19                  Based upon these principles, the Trustee submits that the Settlement Agreement
20   falls well above the lowest point of the range of reasonableness and should be approved.
21                                  Probability of success in litigation
22                  This factor militates in favor of approval of the Settlement Agreement.
23
     3
24     Protective Committee for Independent Stockholders of TMT Trailer Ferry, Inc., v. Anderson, 390
     U.S. 414, 424 (1968).
25   4
       In re Woodson, 839 F.2d 610 (9th Cir. 1988).
     5
26     In re Walsh Construction, Inc., 699 F.2d 1325, 1328 (9th Cir. 1982).
     6
       See In re NII Holdings, Inc., 536 B.R. 61, 100 (Bankr. S.D.N.Y. 2015) (“Although a court may
27   not substitute the debtor’s judgment for its own and instead must undertake its own, independent,
     reasoned analysis of the claims at issue, a court may nonetheless take into account the debtor's
28   business judgment in recommending a settlement as well as the opinions of the debtor and the
     parties to the settlement.”) (citing cases, citation removed).


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 1                   While the Trustee believes her claim is meritorious, all litigation presents risks.
 2   Here, the Trustee would have to prove that the Debtor was a creditor of J&C and that she can
 3   avoid and recover the Transfer, which J&C made to the Defendant. With the Carpoff Ponzi Scheme
 4   and the accompanying looting as the backdrop, including J&C’s role as a slush fund for Carpoff,
 5   the Defendant could challenge any of the steps which the Trustee would need to prove in her case
 6   in chief. And then, the Defendant could argue (and has provided the Trustee with documents in
 7   support) that it provided value to J&C, among other defenses.
 8                   If this were proven to be true, the Defendant would arguably have a complete
 9   defense to the Trustee’s claims given that, based on the Trustee’s investigation, the Trustee does
10   not challenge that the Defendant received the Transfer in good faith.
11             Complexity of litigation and attendant expense, inconvenience and delay
12                   This is a significant consideration that also militates in favor of approval of the
13   Settlement Agreement.
14                   While the Trustee’s claims resemble typical claims litigated before this Court, there
15   are material differences. Often, bankruptcy trustees bring claims to avoid and recover transfers
16   made by a debtor. Here, the Trustee has asserted a claim for recovery of a transfer made by a
17   debtor of the Debtors, which was affiliated with DC Solar, to a third party.
18                   Also, the Defendant did not file a claim in these Bankruptcy Cases and thus would
19   have the right to a jury trial. For this reason and others, while the Trustee’s special counsel is
20   compensated on a contingency-fee basis, the Trustee’s prosecution of this Adversary would be
21   accompanied by significant costs. These costs include those necessary to probe of the intent of the
22   Carpoffs and the connection of J&C to the Carpoffs, such as arranging for and attending prison-
23   depositions. These costs also potentially include an expert witness on the financial aspects of the
24   Debtors’ operation, including that Carpoff perpetrated a Ponzi scheme through the Debtors and
25   J&C’s role in the Ponzi scheme. And a jury trial potentially is often accompanied by certain costs
26   (e.g., travel, potentially a jury consultant) and delay.
27                   The Settlement Agreement addresses these concerns. The parties avoid litigating
28   fact-specific claims with the associated expense and delay of doing so. Here, there is meaningful




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 1   benefit to the estates in resolving this matter pre-suit, without further risk, and before meaningful
 2   expenses are incurred.
 3                                              Collectability
 4                  Collectability was discussed, and considered by the Trustee, but was not a material
 5   issue in reaching the Settlement Agreement.
 6                                    Paramount interest of creditors
 7                  This is a significant consideration that militates in favor of approval of the
 8   Settlement Agreement.
 9                  The Settlement Agreement provides for a $18,000 payment, representing a small
10   but material portion of the Transfer. And the Defendant gains no 502(h) or other claim against the
11   Estate. This is a good outcome when measured against potential defenses and litigation risks,
12   especially considering the value that the Defendant argues it provided to J&C, as well as the costs
13   and delay associated therewith. By resolving the dispute at this early stage of the Adversary, the
14   Trustee is eliminating delay in monetizing her claims and efficiently administering the estates for
15   the benefit of creditors. The settlement also enables the Trustee and her counsel to focus on other
16   substantial litigation claims against other third parties in these Bankruptcy Cases, which is a
17   meaningful consideration given the Trustee expects litigation recoveries to provide the bulk of the
18   recoveries to creditors.
19                  For all the reasons discussed in this Motion, the Settlement Agreement favorably
20   and immediately avoids litigation claims with meaningful risk. Thus, approval of the Settlement
21   Agreement is in the paramount interest of creditors.
22                                   IV.     Payment of Contingency Fee
23                  Meland Budwick, P.A. (“MB”), as special litigation counsel, is to be compensated
24   on a pure contingency fee basis of 25% of any recovery obtained.7 The Trustee seeks allowance
25   of, and authority to pay MB, a 25% contingency fee equal to $4,500 at the time the Trustee receives
26   the Settlement Payment (payment of the percentage of the contingency fee as the Trustee receives
27   each installment payment), without the need for further Court Order.
28
     7
         ECF Nos. 1490 and 1502.


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 1                  Pursuant to 11 U.S.C. § 330(a), the bankruptcy court reviews the services the
 2   professional provided, and decides whether the requested compensation is reasonable. The Trustee
 3   submits that the requested contingency fee satisfies this standard. 8
 4                  First, 25% is a materially lower percentage than often charged by commercial
 5   contingency counsel.9 Second, the Court pre-approved the contingency fee arrangement after
 6   notice to all parties in interest. Third, given the limited assets of the estates when MB was retained,
 7   the contingency fee arrangement benefitted the estates by shifting material risk from the estates
 8   onto MB which immediately invested enormous resources investigating and pursuing claims for
 9   the Estate’s benefit.10 Fourth, the contingency fee arrangement ensures that MB’s compensation is
10   merit-based and directly tied to performance and results. Fifth, the contingency fee arrangement
11   applies to an array of Estate claims, and uniform application is in accord with that agreement.
12   Sixth, MB has performed significant work (including formal and informal discovery) investigating
13   and pursuing this and other claims in a high-quality and expeditious manner given the complexities
14   of this Bankruptcy Case and despite the challenges imposed by COVID-19.
15                  Significantly, MB was charged with considering and investigating claims against
16   hundreds of potential targets. MB invested substantial resources to vet claims against potential
17   targets, ultimately recommending to the Trustee which claims are meritorious and which should
18   not be brought. As a result, MB’s efforts included determining the Trustee does not hold claims
19   against those potential targets. The contingency fee agreement does not provide for MB to be
20
     8
21     Special counsel: (1) performed high-quality work; (2) addressed somewhat challenging factual
     and legal questions; (3) employed significant skill; (4) obtained a timely result; (5) performed its
22   work efficiently; (6) drew upon a high level of capabilities and experience; and (7) was met with
23   significant opposition by sophisticated counsel.
     9
       See In re Private Asset Grp., Inc., 579 B.R. 534, 544-45 (Bankr. C.D. Cal. 2017) (“Outside of
24   bankruptcy, contingency fees are often 33 percent or, if there is an appeal, 40 percent.”); In re
     Pearlman, 2014 WL 1100223, *3 (Bankr. M.D. Fla. Mar. 20, 2014) (“Resting again on its
25   independent judgment, the Court finds the 35% contingency fee to be reasonable and in line with
26   similar non-bankruptcy rates.”).
     10
        Fann Contracting, Inc. v. Garman Turner Gordon LLP, 620 B.R. 141, 147 (D. Nev. 2020); see
27   also, generally, In re Smart World Techs., LLC, 423 F.3d 166, 180 (2d Cir. 2005) (“Here, Smart
     World’s counsel was retained on a contingency basis, meaning that Smart World’s pursuit of its
28   adversary claims would have subjected the bankruptcy estate to no risk, while allowing the estate
     to reap any potential award.”).


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 1   compensated for these significant efforts that benefitted the Estate. Rather, these efforts are part of
 2   the basket of services MB provides to the Trustee and the Estate.
 3                  Finally, MB has provided services to assist in administrative aspects of these cases,
 4   including the pursuit of substantive consolidation, review of certain significant claims, and matters
 5   related to MSG sales. MB did not seek any compensation for that work, which was substantial and
 6   benefitted the estate. MB also does not seek a contingency fee or compensation for the Defendant’s
 7   waiver of any Section 502(h) claim (or any other claim) against the Estate.
 8                                              V. Conclusion
 9                  Based upon the foregoing, the Trustee requests an order approving the Settlement
10   Agreement as well as the contingency fee and granting such other and further relief as this Court
11   deems just and proper.
12          DATED: September 27, 2021.
13                                                  MELAND BUDWICK, P.A.
14
                                                    /s/ Solomon B. Genet
15                                                  Michael S. Budwick, Esq.
16                                                  Solomon B. Genet, Esq.
                                                    Gil Ben-Ezra, Esq.
17                                                  Attorneys for Christina W. Lovato, Trustee/Plaintiff
18                                                  HARTMAN & HARTMAN
19
                                                    /s/ Jeffrey L. Hartman
20                                                  Jeffrey L. Hartman, Esq.
                                                    Attorneys for Christina W. Lovato, Trustee/Plaintiff
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